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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
         Plaintiff,
                                                            Civil Action No. 22-2292 (CKK)
         v.
                                                                     UNDER SEAL
 PETER K. NAVARRO,
          Defendant.


                                             ORDER
                                        (December 20, 2023)

       Before the Court is Plaintiff’s [30] Motion to Enforce (the “Motion”). On August 31, 2023,
the Court granted in part Plaintiff’s Motion, ordering Defendant to explain his compliance with
the Court’s judgment in this case. Order, ECF No. 32, at 2. However, the Motion was held in
abeyance to the extent Plaintiff “requests an order directing Defendant to show cause why he
should not be held in contempt of the Court’s judgment,” as the Court first needed to review
Defendant’s upcoming submissions, which included Defendant filing a notice under seal “listing
all search terms used, the metadata fields searched, and the email accounts searched,” and
delivering a “random sample of fifty emails across each account searched that were not identified
as responsive in his last review.” Id. at 1–2.
       On October 16, 2023, Defendant filed a sealed notice detailing his compliance with the
Court’s judgment. See ECF No. 33 (sealed). There, Defendant stated that “government counsel
has previously taken the position in a related [criminal] case, United States v. Navarro, No. 21-cr-
200 [sic] (D.D.C.), that any work [Defendant] undertook as part of the 2020 Presidential Election
was done in his personal, and not his professional capacity.” Id. Defendant however failed to
elaborate on this statement in his notice. See generally id.
       As a result, the Court is unaware of the exact scope of the Government’s position in the
related criminal case identified by Defendant.         And, while the Court is not bound by the
Government’s position in that case, the Court nonetheless will direct counsel for the Government
to file, under seal, an explanation of the position it took in the related criminal case.



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       Accordingly, it is hereby
       ORDERED, that counsel for the Government shall file under seal an explanation of its
position in United States v. Navarro, No. 22-cr-200, as it relates to Defendant’s statement in his
sealed notice, on or before December 29, 2023.

       SO ORDERED.

Date: December 20, 2023
                                                            /s/
                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge




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